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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
                          Plaintiff,                )
                                                    )
v.                                                  )
                                                    )               Case No. 07-20124-CM
                                                    )
CARRIE NEIGHBORS,                                   )
                                                    )
                          Defendant.                )
                                                    )


                                       MEMORANDUM AND ORDER


           This matter is before the court on Defendant’s Petition for Production of Ministerial Grand Jury

Records. (Doc. 552).

     I.       Factual Background

           Defendant was convicted of conspiracy to commit offense or to defraud the United States, wire

fraud, money laundering, and aiding and abetting on September 22, 2010. On April 19, 2012,

Defendant filed a Petition for Production of Ministerial Grand Jury Records in accordance with the

Freedom of Information Act (FOIA), and Fed. R. Civ. P. 33 and 34. Defendant claims she is entitled

to these documents so that she can accurately prepare her motion under 28 U.S.C. § 2255.

     II.      Discussion

           Although there is no per se rule against the disclosure of grand jury documents, the defendant

must show a “particularized need” for the documents, in which case the documents “should be

disclosed in a discrete and limited manner.” United States v. Troutman, 814 F.2d 1428, 1453 (10th

Cir. 1987). Fed. R. Crim. P. 6(e) prohibits the disclosure of grand jury documents with limited




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exceptions. The test of whether disclosure of information will violate Fed. R. Crim. P. 6(e) is “whether

revelation in the particular context would in fact reveal what was before the grand jury.” Anaya v.

United States, 815 F.2d 1373, 1379 (10th Cir. 1987) (quoting Fund for Constitutional Gov’t v. Nat’l

Archives & Records Serv., 656 F.2d 856, 871 (D.C. Cir. 1981)). Disclosure is not permitted if the

documents reveal “at the very least, the direction of the grand jury’s investigation, and the names of

the persons involved . . . .” Id.

        All of the documents defendant requests include information of which Fed. R. Crim. P. 6(e)

prohibits disclosure, and she has failed to show a “particularized need” for the documents. In addition,

the FOIA does not apply to the United States courts. Hodges v. United States Att’y Gen., No. 07-3076-

SAC, 2008 U.S. Dist. LEXIS 10968, at *2 (D. Kan. Feb. 13, 2008) (citing Cook v. Willingham, 400

F.2d 885 (10th Cir. 1968)). It is a well-established rule “that grand jury proceedings are privileged and

exempt from disclosure under the FOIA.” Id. at *1 (citing John Doe Agency v. John Doe Corp., 493

U.S. 146, 152 (1989)). Defendant also requests the documents under Fed. R. Civ. P. 33 and 34.

However, both rules apply during discovery, and therefore would not apply to a post-trial request for

documents.

        IT IS THEREFORE ORDERED that Defendant’s Petition for Production of Ministerial

Grand Jury Records is denied.

        Dated this 26th day of June, 2012, at Kansas City, Kansas.


                                                     s/ Carlos Murguia
                                                     CARLOS MURGUIA
                                                     United States District Judge




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